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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                :
 UNITED STATES OF AMERICA                       :       Case No: 21-cr-106-TJK-1
                                                :
                                                :
         v.                                     :       18 U.S.C. §§ 1512(c)(2), 2
                                                :       (Obstruction of an Official Proceeding and
 JOSHUA CALVIN HUGHES,                          :       Aiding and Abetting)
                                                :
         Defendant.                             :
                                                :

                                    STATEMENT OF OFFENSE

        Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and through

its attorney, the United States Attorney for the District of Columbia, and the defendant, Joshua Calvin

Hughes, with the concurrence of his attorney, agree and stipulate to the below factual basis for the

defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate that the United

States could prove the below facts beyond a reasonable doubt:

                            The Attack at the U.S. Capitol on January 6, 2021

        1.       The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

        2.       On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.

        3.       On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

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Senate were meeting in separate chambers of the United States Capitol to certify the vote count

of the Electoral College of the 2020 Presidential Election, which had taken place on November

3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by

approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Mike Pence was present and presiding, first in the joint

session, and then in the Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior

of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the

crowd away from the Capitol building and the proceedings underway inside.

        5.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted

to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized

security officials.

        6.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;

however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the




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crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.

Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.

        7.      Shortly thereafter, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all

proceedings of the United States Congress, including the joint session, were effectively

suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances

caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who

had entered the U.S. Capitol without any security screening or weapons check, Congressional

proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,

and the building had been confirmed secured. The proceedings resumed at approximately 8:00

p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.


               Joshua Calvin Hughes’s Participation in the January 6, 2021, Capitol Riot

        8.      Joshua Calvin Hughes drove with his brother and co-defendant, Jerod Wade

Hughes, from Montana to Washington D.C. to attend the “Stop the Steal” rally on January 6,

2021. After the rally, Joshua and Jerod walked toward the U.S. Capitol building. There, Joshua

and Jerod joined a group of rioters on the northern set of stairs. While gathered on the stairs,

Joshua and Jerod were part of the crowd that pushed past a line of law enforcement officers

stationed at the top of the staircase, forcing the officers to retreat. Joshua and Jerod eventually

entered the U.S. Capitol building at approximately 2:13 p.m. through a window next to the

Senate Wing door that had been shattered open by other rioters wielding weapons and a plastic

riot shield.




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       9.      Joshua and Jerod were among the first rioters to enter the U.S. Capitol building on

January 6, 2021.

       10.     After entering the U.S. Capitol building through a shattered window, Jared joined

another rioter in trying to kick open the Senate wing door. Joshua walked toward Jerod as Jerod

and the other rioter kicked open the door. The door broke open before Joshua arrived.

       11.     After Jerod kicked open the door, Joshua and Jerod continued walking northeast

through the Capitol. Joshua and Jerod eventually encountered U.S. Capitol Police Officer E.G.

standing guard near a staircase leading up to the Senate Chamber. Joshua and Jerod followed

close behind other rioters who chased Officer E.G. up the staircase, despite Officer E.G.’s

repeated pleas to stop and back up.

       12.     Upon reaching the second floor, Joshua and Jerod, together with the other rioters,

followed Officer E.G. into the Ohio Clock Corridor, where they were met by other U.S. Capitol

Police officers who had come to Officer E.G.’s aid.

       13.     During this stand-off with U.S. Capitol Police officers in the Ohio Clock

Corridor, Jerod can be seen screaming and making aggressive gestures toward the officers.

       14.     After the stand-off with officers in the Ohio Clock Corridor, Joshua and Jerod

made their way toward the Senate gallery on the third floor of the U.S. Capitol building. They

entered the Senate gallery at approximately 2:44 p.m. and stayed in the Senate gallery for

approximately one minute.

       15.     At approximately 2:48 p.m., Joshua and Jerod entered the Senate chamber through

the east doors, which had been opened from the inside by another rioter. Joshua and Jerod were

among the first ten rioters to enter the Senate chamber. They walked among the



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senators’ desks for approximately two minutes, and exited the Senate chamber at approximately

2:51 p.m.

       16.     Joshua and Jerod eventually exited the U.S. Capitol building through the Senate

carriage door on the east side of the U.S. Capitol building at approximately 2:51 p.m.

       17.     Joshua Hughes knew at the time he entered the U.S. Capitol Building that he did

not have permission to enter the building. Joshua Hughes obstructed, influenced, and impeded

an official proceeding, that is, a proceeding before Congress, specifically, Congress’s

certification of the Electoral College vote as set out in the Twelfth Amendment of the

Constitution of the United States and 3 U.S.C. §§ 15-18.




                                                     Respectfully submitted,


                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052


                                             By:     ________________________
                                                     Emily W. Allen
                                                     Assistant United States Attorney




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